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                              UNITED STATES DISTRICT COURT

                                    DISTRICT OF OREGON

                                     PORTLAND DIVISION




 TAYLOR LEMONS, individually and on                                     Case No. 3:21-cv-511
 behalf of all similarly situated individuals,

                Plaintiffs,                      CLASS ACTION ALLEGATION
                                                 COMPLAINT
        v.                                       Oregon Wage Violations

 WALGREEN PHARMACY SERVICES
 MIDWEST, LLC, WALGREEN                          JURY TRIAL DEMANDED
 PHARMACY SERVICES EASTERN,
 LLC, and WALGREEN PHARMACY
 SERVICES WESTERN, LLC,

                Defendants.


       Plaintiff Taylor Lemons, individually and on behalf of all others similarly situated, brings

this action under Oregon wage and hour laws to recover penalty wages for all current and former

employees of Walgreen Pharmacy Service Midwest, LLC, Walgreen Pharmacy Services Eastern,


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LLC, and Walgreen Pharmacy Services Western, LLC (collectively all Defendants referred to as

“Employers” or “Defendants”) who worked for Employers within Oregon. At all times material

herein, Plaintiff was employed by one or more of the Defendants in the State of Oregon.

                                             PARTIES

       1.      Plaintiff Taylor Lemons resides, is domiciled, and is a citizen of Oregon.

       2.      Defendant Walgreen Pharmacy Services Midwest, LLC (WPSM) members are

citizens of Delaware, Illinois, Louisiana, and New York. WPSM is an LLC organized under the

laws of Illinois, with its principal place of business in Deerfield, Illinois. WPSM is an indirect,

wholly owned subsidiary of Walgreen Co.

       3.      At all times material, Defendant Walgreen Pharmacy Services Eastern, LLC

(WPSE) was a citizen of Delaware, Illinois, Louisiana, and New York. WPSE was an LLC

organized under the laws of Illinois, with its principal place of business in Deerfield, Illinois.

       4.      WPSE was an indirect, wholly owned subsidiary of Walgreen Co. until it merged

with defendant WPSM on January 26, 2016.

       5.      At all times material, Defendant Walgreen Pharmacy Services Western, LLC

(WPSW) was a citizen of Delaware, Illinois, Louisiana, and New York. WPSW was an LLC

organized under the laws of Illinois, with its principal place of business in Deerfield, Illinois.

       6.      WPSW was an indirect, wholly owned subsidiary of Walgreen Co. until it merged

with defendant WPSM on January 26, 2016.

       7.      Lemons is a former employee of defendants WPSM and WPSE or WPSW.

       8.      At all material times, Plaintiff and all similarly situated individuals are current

and former employees of Employers, who worked for Employers in Oregon, and who were

subject to Oregon wage and hour provisions.



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       9.      Each Defendant conducted substantial business and has, or had, employees

working in Multnomah County Oregon.

                                         JURISDICTION

       10.     The Class Action Fairness Act of 2005 (“CAFA”), Pub. L. No. 109-2, 119 Stat. 4

(amending 28 U.S.C. § 1332(d)), confers federal jurisdiction over class actions involving (a)

minimal diversity (i.e., diversity between any defendant and any putative class member); (b) at

least 100 putative class members; and (c) at least $5 million in controversy, exclusive of interests

and costs. 28 U.S.C. § 1332(d)(2)(A). Further, no Defendant identified in the Complaint is a

state, officer of a state, or a government agency. 28 U.S.C. § 1332(d)(5).

Diversity of Citizenship

       11.     Pursuant to 28 U.S.C. § 1332(d)(2), the diversity requirement under CAFA is

satisfied when (1) any member of a class of plaintiffs is a citizen of a state different from any

defendant, (2) when at least one member of a class of plaintiffs is a citizen of a foreign state and

one defendant is a U.S. citizen, or (3) when at least one member of a class of plaintiffs is a U.S.

citizen and one defendant is a citizen of a foreign state. Here, the diversity requirement under

CAFA is satisfied because Plaintiff is a citizen of a state different from at least one defendant.

  The Proposed Class Exceeds 100

       12.     Plaintiff estimates the class to exceed 1000 persons.

  The Amount in Controversy Exceeds $5,000,000

       13.     Plaintiff’s asserted putative class places in controversy in excess of $5 million,

excluding interest and costs. Plaintiff seeks statutory penalty wages pursuant to ORS 652.150

against each employer as alleged below. Total damages are estimated at 7.08 million dollars.




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       14.     Additionally, attorneys' fees are properly included in the amount in controversy

for purposes of evaluating diversity jurisdiction. Guglielmino v. McKee Foods Corp., 506 F.3d

696, 700 (9th Cir. 2007). The Ninth Circuit "has established 25% of the common fund as a

benchmark award for attorney fees." Hanlon v. Chrysler Corp., 150 F.3d 1011, 1029 (9th

Cir. 1998) (citing Six Mexican Workers v. Ariz. Citrus Growers, 904 F.2d 1301, 1311 (9th

Cir. 1990)).

                                             VENUE

       15.     Venue is proper under 28 U.S.C. § 1391(b), because all or a substantial part of the

events or omissions giving rise to Plaintiff’s claims occurred in the District of Oregon. The acts

pertaining to the named Plaintiff occurred in Multnomah County.

                                  FACTUAL ALLEGATIONS

       16.     Prior to 2008, Walgreen Co. operated Walgreens stores and pharmacies in

Oregon.

       17.     Walgreens is one of the largest drugstore chains in the U.S., with more than 9,200

stores in all 50 states, the District of Columbia, Puerto Rico, and the U.S. Virgin Islands. The

company had fiscal 2014 sales of more than $76 billion. Walgreens operates approximately 76

drug stores in Oregon.

       18.     Around January 1, 2008, WPSW or WPSE began operating Walgreens

pharmacies in Oregon and became the employer of most or all of Walgreen Co.’s employees in

Oregon. Employees were not told that their employment with Walgreen Co. was terminated and

that their new employer was WPSW or WPSE.

       19.     WPSW and WPSE have never been authorized to transact business in Oregon as

required by ORS 63.701.



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       20.       WPSW or WPSE operated under the assumed business name Walgreens in

Oregon and other states. However, WPSW and WPSE have never registered with the State of

Oregon to do so and were not authorized to do so. WPSW or WPSE was in violation of ORS

648.007.

       21.       Pursuant to ORS 648.135, each plaintiff is entitled to an award of $500 for each

defendants’ violation of ORS 648.007.

       22.       On October 25, 2014, Plaintiff began working for WPSW or WPSE.

       23.       In 2014, defendant Walgreen Pharmacy Service Midwest, LLC became registered

to do business in Oregon.

       24.       On December 31, 2015, WPSW or WPSE stopped operating Walgreens stores in

Oregon and Plaintiff’s employment with WPSW or WPSE ended.

       25.       On January 1, 2016, WPSM began operating Walgreens pharmacies in Oregon

and became Plaintiff’s employer.

       26.       Plaintiff and class members’ employment with WPSW or WPSE terminated on

December 31, 2015 and they became employees of WPSM on January 1, 2016.

       27.       Pursuant to ORS 652.140, WPSW or WPSE was required to pay all wages owed

to all employees whose employment was terminated on December 31, 2015 by the end of the

next business day.

       28.       Plaintiff and class members were not paid all wages owed until January 14, 2016.

       29.       On January 26, 2016, WPSW and WPSE merged with WPSM. Additionally,

WPSW and WPSE no longer exist, and are unable provide adequate relief directly to Plaintiff

and the class.




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       30.    WPSM is a successor to WPSW and WPSE because WPSM conducts the same

business as conducted by WPSW and WPSE.

       31.    WPSM is a successor employer and is liable to Plaintiff and class members to the

same extent as WPSW and WPSE for Plaintiff’s and class members’ ORS Chapter 652 claims.

       32.    Walgreens Co., WPSW, WPSE, and WPSM took steps to hide which entity

employed plaintiff and the members of the class.

       33.    For example, direct deposits stated that they were paid by Walgreens Co.

Additionally, the EIN on Plaintiff’s W2s was 361924025, which is the EIN assigned to Walgreen

Co. by the IRS.

       34.    Additionally, Employees of WPSW, WPSE and WPSM were subject to the

control of Walgreen Co.’s centralized human resources department, which provides payroll

services, maintains payroll records, and administers the Walgreens human resources hotline.

Employees at each of Walgreens’ Oregon stores were directed to call the hotline with personnel-

related questions and complaints.

       35.    Furthermore, when employees of WPSW, WPSE or WPSM suffered on the job

injuries in Oregon, claims were processed with Walgreen Co. listed as the employer.

       36.    WPSW and WPSE have never had workers’ compensation coverage in Oregon.

       37.    Because of Walgreen Co. and defendants’ actions and concealment, Plaintiff and

all members of the class would not have known who their actual employer was or the dates their

actual employer terminated their employment.

       38.    On March 1, 2019, Plaintiff’s employment with WPSM ended. Plaintiff’s wages

were due by the end of the next business day.

       39.    On March 21, 2019, Plaintiff was paid his final paycheck.



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       40.     WPSM had a practice of failing to timely pay its employees whose employment

ended when required by Oregon law.

       41.     Employers failed to make timely payment of all wages due and owing Plaintiff

and class members upon the ending of employment pursuant to ORS 652.140.

       42.     Plaintiff and class members are entitled to a penalty pursuant to ORS 652.150.

       43.     Defendants each, within the State of Oregon directly or through an agent,

engaged, engages, used or uses the personal service of one or more employees, reserving the

right to control the means by which such service is or will be performed.

       44.     During the course of Plaintiff’s and class members’ employment, Employers

allowed, suffered and permitted Plaintiff and class members to perform work for the benefit of

Employers.

       45.     At the time of termination of employment, Employers agreed to pay Plaintiff and

class members at an hourly rate or salary.

       46.     The last hourly rate or salary paid to Plaintiff and class members and the final

date of employment for Plaintiff and class members should be in Employers’ employment

records.

       47.     In failing to pay all of Plaintiff’s and class members’ final wages at termination,

Employers were a free agent and determined their own actions.

       48.     Employers knew Plaintiff’s and class members’ employment had ended when it

ended for each Defendant.

       49.     Employers possessed all information regarding the hours worked by Plaintiff and

class members.




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       50.     Employers were required to possess all information regarding the hours worked

by Plaintiff and class members.

       51.     Employers could and did calculate the amount of wages due to Plaintiff and class

members at termination.

       52.     Employers were capable of paying all Plaintiff’s and class members’ wages

earned and due at termination.

       53.     Prior to filing this action, Plaintiff’s attorney sent written notice of the wage

claims to Employers.

                               CLASS ACTION ALLEGATIONS

       54.     Plaintiff brings this action pursuant to Federal Rule of Civil Procedure 23(b)(3) on

behalf of himself and a class of similarly situation individuals.

       55.     The first class (WPSW or WPSE late payment class) is for Plaintiff and all

similarly situated class members, who worked for WPSW or WPSE in Oregon on December 31,

2015, became employed by WPSM on January 1, 2016, and did not receive their final paycheck

within the time required by ORS 652.140.

       56.     The second class (WPSM late payment class) is for Plaintiff and all similarly

situated class members, who worked for WPSM in Oregon, had their employment terminated

any time after January 1, 2016, and did not receive their final paycheck within the time required

by ORS 652.140.

       57.     The Oregon State law claims, if certified for class wide treatment, may be pursued

by all similarly situated persons who do not request exclusion or opt-out of the class. Class

members may be notified of the pendency of this action by first-class mail. Class members may




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be identified through Defendants’ human resources and payroll computer systems. Notice of the

class action may be made by mailing to the class members’ address in Employers’ records.

                                 Fed. R. Civ. P. 23(a) Prerequisites

       58.     Numerosity. The class is so numerous that joinder of all members is

impracticable. Plaintiff estimates the first class to exceed 1300 person and the second class to

exceed 2100 people. The precise number of class members is unknown but can easily be

determined from Defendants’ employment and payroll records.

       59.     Common Questions of Law and Fact. There are questions of law or fact

common to the class that predominate over any questions affecting only individual members,

including, but not limited to:

               A.      Whether WPSW or WPSE terminated class members employment on

       December 31, 2015;

               B.      Whether WPSW or WPSE failed to timely pay all wages when due and

       required by ORS § 652.140;

               C.      Whether WPSM had a practice of failing to timely pay all wages when

       due and required by ORS § 652.140;

               D.      Whether Employers’ conduct in failing to timely pay all wages at the end

       of employment was willful;

               E.      Which remedies are available for the violations of 652.140; and

               F.      Whether class members are entitled to recovery their attorney fees under

       either ORS 652.200.




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       60.     Typicality. Plaintiff’s claims are typical of the claims of the class because they all

suffered from the same policies or practices alleged herein and seek the same type of relief.

Plaintiff’s claims are typical of class members’ claims in that:

               A.       Plaintiffs was affected by the violations described above;

               B.       Plaintiff’s claims stem from the same practices and/or courses of

       conduct that form the basis of the claims;

               C.       Plaintiff’s claims are based upon the same legal and remedial theories as

       those of the class and involve similar factual circumstances; and

               D.       Plaintiff’s injuries are similar to the injuries which class members

       have suffered.

       61.     Adequacy of Representation. Plaintiffs will fairly and adequately protect the

interests of the class. There is no conflict between Plaintiff’s claims and those of other class

members, the claims are typical, and the interests of the class members will be fairly and

adequately protected by Plaintiffs and their counsel. Plaintiffs have retained counsel with

experience handling class actions, wage claims, complex civil rights and employment cases, and

personal injury cases. Class counsel includes counsel with extensive experience, including trial,

appeal, and settlement of actions and complex cases in federal and state courts.

                                 Fed. R. Civ. P. 23(b)(3) Factors

       62.     The questions of law or fact common to class members, as stated above,

predominate over any questions affecting only individual members, namely the amount of

penalty wages owed.

       63.     A class action is superior to other available methods for the fair and efficient

adjudication of this controversy:



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              A.      Most individual members of the class have little interest in or ability to

       prosecute an individual action due to the complexity of the issues involved in this

       litigation and the relatively small damages suffered by each class member in relation to

       the expense and time required to pursue such an action;

              B.      Counsel are not aware of any other class actions for damages or individual

       cases or claims made by prospective class members for the violations described herein;

              C.      This action will allow an orderly and expeditious administration of class

       claims. Economies of time, effort and expense will be fostered, and uniformity of

       decisions will be ensured;

              D.      Without a class action, the class may continue to suffer damages and

       Defendants’ violations of law will proceed without remedy;

              E.      This action should present no difficulty that would impede its management

       as a class action, all class members are identifiable from defendants’ records, and a class

       action is the best available means by which Plaintiffs and the class can seek redress for

       the harms caused to them by Defendants; and

              F.      The maintenance of separate actions would place a substantial and

       unnecessary burden on the courts and could result in inconsistent adjudications, while a

       single class action can determine, with judicial economy, the rights of all class members.

                                FIRST CLAIM FOR RELIEF

                                    (Violation of ORS 648.007)

       64.    Pursuant to ORS 648.135, each plaintiff and class member is each entitled to an

award of $500 for each defendants’ violation of ORS 648.007.




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                               SECOND CLAIM FOR RELIEF

                      (WPSE/WPSW Late Payment at Termination Claim)

        65.    Plaintiff re-alleges all paragraphs as though fully alleged herein.

        66.    Defendants WPSE or WPSW terminated the employment of plaintiff and all class

members on December 31, 2015.

        67.    Pursuant to ORS 652.140, Plaintiff and all class members were required to be

paid their final wages by January 1, 2016.

        68.    Plaintiff and all class members were not paid their final wages until January 14,

2016.

        69.    Defendants WPSE or WPSW failed to pay all employees their final wages as

required by ORS 652.140.

        70.    Plaintiff and class members are owed a statutory penalty wages in an amount to

be determined pursuant to ORS 652.150.

        71.    Plaintiff’s wage was approximately $14.00 per hour on December 31, 2015 and is

owed a statutory penalty wages in the approximate amount of $1,456.

        72.    Plaintiff estimates the class to consist of at least 1300 people, owed, on average,

statutory penalty wages of $2,000, which totals 2.6 million dollars.

        73.    Plaintiff and class members seek statutory wages pursuant to ORS 652.150, and

costs, disbursements. Plaintiff also seeks attorney fees, pursuant to ORS 652.200(2) plus pre- and

post-judgment interest in the amount of 9% per annum incurred herein under ORS 82.010.

                                THIRD CLAIM FOR RELIEF

                          (WPSM Late Payment at Termination Claim)

        74.    Plaintiff re-alleges all paragraphs as though fully alleged herein.



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       75.     Plaintiff and all class members employment with Defendant WPSM ended.

       76.     Plaintiff and all class members were required to be paid their final wages within

the time specified in ORS 652.140.

       77.     Plaintiff and all class members were not paid their final wages within the time

specified in ORS 652.140.

       78.     Defendant WPSM failed to pay all employees their final wages as required by

ORS 652.140.

       79.     Plaintiff and class members are owed a statutory penalty wages in an amount to

be determined pursuant to ORS 652.150.

       80.     Plaintiff’s wage was $20.92 per hour on March 1, 2019 and is owed a statutory

penalty wages in the amount of $3,347.20.

       81.     Plaintiff estimates the class to consist of at least 700 people per year earning an

average of $20 per hour. Plaintiff estimates on average each person is owed ten days of statutory

wage penalties. Over a four-year period, Plaintiff estimates statutory wage penalties to total 4.48

million dollars.

       82.     Plaintiff and class members seek statutory wages pursuant to ORS 652.150, and

costs, disbursements. Plaintiff also seeks attorney fees, pursuant to ORS 652.200(2) plus pre- and

post-judgment interest in the amount of 9% per annum incurred herein under ORS 82.010.

                                     PRAYER FOR RELIEF

       Plaintiff and class members pray for the following judgment against defendants:

       1.      $500 for each violation of ORS 648.007;

       2.      Statutory penalty wages pursuant to ORS 652.150 for plaintiff and each class

   member;



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       3.     Attorney fees pursuant to ORS 652.200(2);

       4.     Pre-judgment and post- judgment interest on all damage amounts, plus

   costs and disbursements under ORS 82.010; and

       5.     For such other and further relief as the Court may deem just and equitable.

Plaintiff demands a trial by Jury.

       Dated: April 6, 2021



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